Case:08-01053-SDB Doc#:73 Filed:08/24/09 Entered:08/25/09 16:07:35                     Page:1 of 1


                                                                                       20094/,
                   In Ebe ?frmnitcb 6tateo 38ankruptcp (Court
                               For the Southern District of Georgia
                                        Augusta Division
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INRE
                                                                     CHAPTER 13
DALE AND DEBORAH CROCKER,                                            CASE NO.: 04-14200
                Debtors.

DALE and DEBORAH CROCKER,
                Plaintiffs,

       V.
            	
                                                                     ADV. NO.: 08-1053-SDB /

NCO FINANCIAL SYSTEMS, INC.
                First Defendant,


                              JOINT STIPULATION OF DISMISSAL

       NOW COME the parties in this adversary proceeding and submit to the Court this joint
stipulation of dismissal pursuant to Bankruptcy Rule 704 1(a)(l)(A)(ii) and inform the Court that
they have reached a resolution on this matter. All parties request that all claims and counts in
this case be dismissed with prejudice, with all costs and fees of the parties attributable to this
action to be borne respectively by those parties.
        Respectfully y6bmifted this 	             of August, 2009.




                                  	
       KEN)cETH' GRACE                               ZANE P. MIDEN
                              	
       Attorney for Defendant                        Attorney for Plaintiffs
       9009 Corporate
                   	  Lake Blvd.	                    330 Telfair Street
       Suite 300-S              	                    Augusta, GA 30909
       Tampa, FL 33634-2367                          Ga. Bar. No. 445820
